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       Proposed Counsel for Debtor and Debtor-in-Possession
12     Vahan M. Dinihanian, Jr.

13                                      UNITED STATES BANKRUPTCY COURT

14                                            FOR THE DISTRICT OF OREGON

15     In re                                             Bankruptcy Case Nos.:

16     15005 NW CORNELL LLC, and                         19-31883-dwh11 (Lead Case)

17     VAHAN M. DINIHANIAN, JR.                          19-31886-dwh11

18                               Debtors. 1              Jointly Administered Under
                                                         Case No. 19-31883-dwh11
19
                                                         CERTIFICATE OF SERVICE
20

21              The undersigned hereby certifies that on June 12, 2019, they caused the following documents to
22     be served via U.S. Mail to the parties listed on the respective attached service list and further caused each
23     of the following documents to be served on all CM/ECF participants listed on the respective attached
24     service list via the CM/ECF system upon the document’s respective date of filing or entry by the Court:
25
       1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
26     number, are : 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871).
                                                                                      Perkins Coie LLP
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PAGE   1-      CERTIFICATE OF SERVICE                                               Portland, OR 97209-4128
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       134541-0001/144662523.1                                                         Fax: 503.727.2222
                                   Case 19-31883-dwh11        Doc 25     Filed 06/12/19
1               1.        Debtor 15005 NW Cornell LLC’s Submission Regarding Filing of Financial Documents

2      (Dkt. No. 24; filed June 11, 2019).

3

4      Dated: June 12, 2019                              PERKINS COIE LLP
5                                                        By: /s/ Douglas R. Pahl
                                                             Douglas R. Pahl, OSB No. 950476
6                                                            DPahl@perkinscoie.com
                                                             Matthew J. Mertens, OSB No. 146288
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                                                        Proposed Counsel for Debtor and Debtor-in-
11                                                      Possession
                                                        15005 NW Cornell LLC
12

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                                                                                   Perkins Coie LLP
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                                   Case 19-31883-dwh11      Doc 25    Filed 06/12/19
        Served via CM/ECF filing system:

                                       Stephen Arnot                           Nicholas J. Henderson
Tasha Teherani-Ami
                                       U.S. Trustee, Portland                  Motschenbacher & Blattner, LLP
9419 NW Ember Lane                     620 SW Main St. #213                    117 SW Taylor Street, Ste. 300
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        Served via U.S. Mail First Class:


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Dan Logan                               Daniel Lorenz                          Gregory Miner
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Philadelphia PA 1910-7346               North Plains OR 97133                  Salem OR 97301-4096

                                        Oregon Dept. of Consumer               Oregon Secretary of State
Oregon Department of Revenue
                                        & Business Services                    Public Service Building
955 Center Street NE
                                        350 Winter St NE 2nd Floor             255 Capitol St. NE, Suite 151
Salem OR 97309-5018
                                        Salem OR 97301                         Salem OR 97310
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Oregon State Treasury                   Tasha Teherani-Ami                     of Sonia Dinihanian GST Trust
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Dept of HHS - Code Enforcement          & Taxation                             Schulte Anderson, et al.
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                                 Case 19-31883-dwh11    Doc 25   Filed 06/12/19
